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 2   VICTOR CHAVEZ, SBN #113752
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 5
     Attorney for Defendant
 6   RAFAEL CARDENAS
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      Case No. 1:17-cr-0205 DAD-BAM
12                     Plaintiff,                   STIPULATION AND ORDER TO CONTINUE
                                                    IN CAMERA HEARING ON MOTION TO
13   vs.                                            DISCLOSE INFORMANT
14   RAFAEL CARDENAS,                               Date: August 23, 2018
                                                    Judge: Hon. Dale A. Drozd
15                    Defendant.
16
17          IT IS HEREBY STIPULATED by and between the parties through their respective
18   counsel, Assistant United States Attorney Ross Pearson, counsel for the plaintiff, and Assistant
19   Federal Defender Victor Chavez, counsel for defendant Rafael Cardenas, that the deadline for
20   filing of any proposed questions and related materials in advance of the in camera hearing in this
21   matter be continued to August 23, 2018.
22          Defense counsel is presently outside of the country and is not scheduled to return to the
23   office until August 14, 2018. Given that defense counsel is currently abroad, counsel does not
24   have access to the file and materials related to this matter in order to prepare and meet the
25   currently scheduled deadline of August 13, 2018.
26          Counsel will need time to review related materials, draft proposed questions and submit
27   them to the Court. The parties have agreed that a submission deadline of no later than August
28   23, 2018 will provide each of the parties sufficient time to submit the above-referenced items to


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 1   the Court. The parties then defer to the Court to set the in camera hearing based upon the
 2   Court’s availability following the August 23, 2018 submission deadline.
 3
 4                                                 Respectfully submitted,
 5                                                 McGREGOR W. SCOTT
                                                   United States Attorney
 6
 7   Date: August 3, 2018                          /s/ Ross Pearson
                                                   ROSS PEARSON
 8                                                 Assistant United States Attorney
                                                   Attorney for Plaintiff
 9
10                                                 HEATHER E. WILLIAMS
                                                   Federal Defender
11
12   Date: August 3, 2018                          /s/ Victor Chavez
                                                   VICTOR CHAVEZ
13                                                 Assistant Federal Defender
                                                   Attorneys for Defendant
14                                                 RAFAEL CARDENAS
15
16
17                                               ORDER
18             Good cause appearing, the in camera hearing previously set for August 15, 2018 is
19   continued to September 6, 2018 at 1:30 P.M. At that in camera hearing, it is anticipated that the
20   informant and the undercover law enforcement officer will testify in response to questions from
21   government’s counsel and the court. Neither defense counsel nor defendant Cardenas will be
22   permitted to attend the in camera hearing. Defense counsel shall file with the court any proposed
23   questions and related materials on or before August 23, 2018. Following the in camera hearing,
24   the court will issue an order ruling on defendant’s informant disclosure motion.
25
     IT IS SO ORDERED.
26
27       Dated:      August 3, 2018
                                                          UNITED STATES DISTRICT JUDGE
28

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